                                                                                                             Case 10-71569-wlh                          Doc 1         Filed 04/19/10 Entered 04/19/10 20:20:12                                                 Desc Main
                                                                                               B1 (Official Form 1) (4/10)                                            Document Page 1 of 49
                                                                                                                                  United States Bankruptcy Court                                                                                     Voluntary Petition
                                                                                                                             Northern District of Georgia, Atlanta Division
                                                                                                Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                 Stokeling, Shamara Nyree
                                                                                                All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                                (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                                 None

                                                                                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                               (if more than one, state all): 3223                                               (if more than one, state all):

                                                                                                Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                 1880 Grouse Court
                                                                                                 Lawrencville, GA                                                     ZIPCODE                                                                                            ZIPCODE
                                                                                                                                                                         30044
                                                                                                County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:

                                                                                                 Gwinnett
                                                                                                Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                      ZIPCODE                                                                                            ZIPCODE

                                                                                                Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                         ZIPCODE

                                                                                                              Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                           (Form of Organization)                         (Check one box)                                                          the Petition is Filed (Check one box)
                                                                                                              (Check one box)                                 Health Care Business                                       Chapter 7
                                                                                                                                                              Single Asset Real Estate as defined in
                                                                                                                                                                                                                                                    Chapter 15 Petition for
                                                                                                   Individual (includes Joint Debtors)
                                                                                                                                                                                                                         Chapter 9                  Recognition of a Foreign
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                                                                                                   See Exhibit D on page 2 of this form.                      11 U.S.C. § 101 (51B)
                                                                                                                                                              Railroad                                                                              Main Proceeding
                                                                                                   Corporation (includes LLC and LLP)                                                                                    Chapter 11
                                                                                                   Partnership                                                Stockbroker                                                                           Chapter 15 Petition for
                                                                                                                                                                                                                          Chapter 12
                                                                                                   Other (If debtor is not one of the above entities,         Commodity Broker                                                                      Recognition of a Foreign
                                                                                                                                                                                                                         Chapter 13                 Nonmain Proceeding
                                                                                                   check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                              Other                                                                        Nature of Debts
                                                                                                                                                                                                                                           (Check one box)
                                                                                                                                                                                                                         Debts are primarily consumer
                                                                                                                                                                         Tax-Exempt Entity                               debts, defined in 11 U.S.C.                    Debts are primarily
                                                                                                                                                                       (Check box, if applicable)                        §101(8) as "incurred by an                     business debts
                                                                                                                                                                 Debtor is a tax-exempt organization                     individual primarily for a
                                                                                                                                                                 under Title 26 of the United States                     personal, family, or household
                                                                                                                                                                 Code (the Internal Revenue Code)                        purpose."
                                                                                                                           Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                       Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                           Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                       Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                       signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                       to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                             insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
                                                                                                                                                                                                              4/01/13 and every three years thereafter).
                                                                                                                                                                                                        Check all applicable boxes
                                                                                                       Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                              A plan is being filed with this petition.
                                                                                                       attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                              Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                              more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                                 Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                         COURT USE ONLY
                                                                                                   Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                   distribution to unsecured creditors.
                                                                                               Estimated Number of Creditors

                                                                                                1-49           50-99          100-199           200-999          1000-            5,001-            10,001-          25,001-          50,001-          Over
                                                                                                                                                                 5000             10,000            25,000           50,000           100,000          100,000
                                                                                               Estimated Assets

                                                                                               $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                               $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                               million        million          million         million             million
                                                                                               Estimated Liabilities

                                                                                               $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                               $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                               million        million          million         million             million
                                                                                                        Case
                                                                                               B1 (Official    10-71569-wlh
                                                                                                            Form 1) (4/10)                        Doc 1          Filed 04/19/10 Entered 04/19/10 20:20:12                                              Desc Main                 Page 2
                                                                                                                                                                 Document Page 2 of 49
                                                                                               Voluntary Petition                                                                           Name of Debtor(s):
                                                                                               (This page must be completed and filed in every case)                                       Shamara Nyree Stokeling
                                                                                                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                               Location                                                                              Case Number:                                          Date Filed:
                                                                                               Where Filed:           NONE

                                                                                                Location                                                                             Case Number:                                          Date Filed:
                                                                                                Where Filed:
                                                                                                                N.A.
                                                                                                  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                                District:                                                                            Relationship:                                          Judge:


                                                                                                                               Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                                 (To be completed if debtor is an individual
                                                                                               (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                               10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                               Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                       the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                               relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                       I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).



                                                                                                        Exhibit A is attached and made a part of this petition.                        X         /s/ Matthew T. Berry                                    04/19/10
                                                                                                                                                                                             Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                             Exhibit C
                                                                                               Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                        Yes, and Exhibit C is attached and made a part of this petition.
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                                                                                                        No


                                                                                                                                                                              Exhibit D
                                                                                                 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                If this is a joint petition:
                                                                                                            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                           Information Regarding the Debtor - Venue
                                                                                                                                                                        (Check any applicable box)
                                                                                                                        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                        or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                        court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                  Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                         (Check all applicable boxes)
                                                                                                                        Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                        (Name of landlord that obtained judgment)


                                                                                                                                                                         (Address of landlord)
                                                                                                                        Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                        entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                        Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                        period after the filing of the petition.
                                                                                                                        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                           Case 10-71569-wlh                   Doc 1          Filed 04/19/10 Entered 04/19/10 20:20:12                                              Desc Main
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                                                                                               Voluntary Petition                                                                     Name of Debtor(s):
                                                                                               (This page must be completed and filed in every case)                                 Shamara Nyree Stokeling
                                                                                                                                                                              Signatures
                                                                                                           Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                 I declare under penalty of perjury that the information provided in this petition
                                                                                                 is true and correct.
                                                                                                 [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                 has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                 chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                 available under each such chapter, and choose to proceed under chapter 7.
                                                                                                 [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United States
                                                                                                 I request relief in accordance with the chapter of title 11, United States                      Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                 Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                 Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                 title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                 recognition of the foreign main proceeding is attached.
                                                                                                 X /s/ Shamara Nyree Stokeling
                                                                                                     Signature of Debtor                                                                X
                                                                                                                                                                                            (Signature of Foreign Representative)
                                                                                                 X
                                                                                                     Signature of Joint Debtor

                                                                                                                                                                                             (Printed Name of Foreign Representative)
                                                                                                      Telephone Number (If not represented by attorney)

                                                                                                      04/19/10
                                                                                                                                                                                              (Date)
                                                                                                      Date
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                                                                                                                      Signature of Attorney*
                                                                                                X       /s/ Matthew T. Berry                                                                     Signature of Non-Attorney Petition Preparer
                                                                                                     Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                       as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                                     MATTHEW T. BERRY 055663                                                           and have provided the debtor with a copy of this document and the notices
                                                                                                     Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                       and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                       3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                     Berry & Associates                                                                setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                     Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                     Berry & Associates                                                                document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                     Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                     2751 Buford Highway, Suite 400Atlanta, GA 30324
                                                                                                                                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                     404-235-3300
                                                                                                    Telephone Number
                                                                                                                                                                                       Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                     04/19/10                                                                          state the Social Security number of the officer, principal, responsible person or
                                                                                                   Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                certification that the attorney has no knowledge after an inquiry that the
                                                                                                information in the schedules is incorrect.                                              Address

                                                                                                        Signature of Debtor (Corporation/Partnership)
                                                                                                  I declare under penalty of perjury that the information provided in this petition
                                                                                                  is true and correct, and that I have been authorized to file this petition on       X
                                                                                                  behalf of the debtor.

                                                                                                  The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                  United States Code, specified in this petition.
                                                                                                                                                                                          Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                          person, or partner whose Social Security number is provided above.
                                                                                                X
                                                                                                     Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                          assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                          not an individual:
                                                                                                     Printed Name of Authorized Individual
                                                                                                                                                                                          If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                          conforming to the appropriate official form for each person.
                                                                                                     Title of Authorized Individual
                                                                                                                                                                                          A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                          and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                    Date
                                                                                                                                                                                          imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                    Case 10-71569-wlh                  Doc 1    Filed 04/19/10 Entered 04/19/10 20:20:12     Desc Main
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                                                                                               B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                        Northern District of Georgia, Atlanta Division




                                                                                                     Shamara Nyree Stokeling
                                                                                               In re______________________________________                                  Case No._____________
                                                                                                              Debtor(s)                                                           (if known)


                                                                                                          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                          CREDIT COUNSELING REQUIREMENT

                                                                                                       Warning: You must be able to check truthfully one of the five statements regarding
                                                                                               credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                               case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                               filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                               you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                               required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                               collection activities.
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                                                                                                      Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                               must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                               any documents as directed.

                                                                                                      1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                               performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                               services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                               developed through the agency.

                                                                                                       2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                               performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                               the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                               services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                               no later than 14 days after your bankruptcy case is filed.
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                                                                                               B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                              Page 2


                                                                                                       3. I certify that I requested credit counseling services from an approved agency but
                                                                                               was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                               following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                               so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                      If your certification is satisfactory to the court, you must still obtain the credit
                                                                                               counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                               promptly file a certificate from the agency that provided the counseling, together with a
                                                                                               copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                               requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                               can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                               be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                               without first receiving a credit counseling briefing.

                                                                                                      4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                               applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                      illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                      decisions with respect to financial responsibilities.);
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                                                                                                              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                      extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                      briefing in person, by telephone, or through the Internet.);
                                                                                                              Active military duty in a military combat zone.

                                                                                                      5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                               counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                      I certify under penalty of perjury that the information provided above is true and
                                                                                               correct.



                                                                                                                            Signature of Debtor:             /s/ Shamara Nyree Stokeling
                                                                                                                                                            SHAMARA NYREE STOKELING

                                                                                                                                                         04/19/10
                                                                                                                                                Date: _________________
                                                                                                              Case 10-71569-wlh
                                                                                               B6A (Official Form 6A) (12/07)
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                                                                                               In re    Shamara Nyree Stokeling                                                               Case No.
                                                                                                                          Debtor                                                                                                    (If known)

                                                                                                                                               SCHEDULE A - REAL PROPERTY
                                                                                                  Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                               tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                               the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                               “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                               “Description and Location of Property.”

                                                                                                 Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                               Unexpired Leases.

                                                                                                   If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                               claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                  If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                               Property Claimed as Exempt.




                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                              CURRENT VALUE
                                                                                                                                                                                                                                OF DEBTOR’S
                                                                                                              DESCRIPTION AND LOCATION                             NATURE OF DEBTOR’S                                           INTEREST IN        AMOUNT OF
                                                                                                                     OF PROPERTY                                  INTEREST IN PROPERTY                                      PROPERTY, WITHOUT       SECURED
                                                                                                                                                                                                                              DEDUCTING ANY          CLAIM
                                                                                                                                                                                                                              SECURED CLAIM
                                                                                                                                                                                                                               OR EXEMPTION
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                                                                                                       None




                                                                                                                                                                                             Total
                                                                                                                                                                                                                                        0.00

                                                                                                                                                                                             (Report also on Summary of Schedules.)
                                                                                                               Case 10-71569-wlh                        Doc 1      Filed 04/19/10 Entered 04/19/10 20:20:12                                      Desc Main
                                                                                               B6B (Official Form 6B) (12/07)
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                                                                                               In re     Shamara Nyree Stokeling                                                            Case No.
                                                                                                                                 Debtor                                                                             (If known)

                                                                                                                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                                                    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                               place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                               identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                               community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                               individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                   Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                               Unexpired Leases.

                                                                                                     If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                               If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                               "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                                                                                                            OR COMMUNITY
                                                                                                                                                                                                                                                 DEBTOR’S INTEREST
                                                                                                                                                        N                                                                                           IN PROPERTY,
                                                                                                            TYPE OF PROPERTY                            O                DESCRIPTION AND LOCATION                                                     WITHOUT
                                                                                                                                                        N                      OF PROPERTY                                                        DEDUCTING ANY
                                                                                                                                                        E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                   OR EXEMPTION


                                                                                                 1. Cash on hand.                                       X
                                                                                                 2. Checking, savings or other financial accounts,          Checking/Savings                                                  W                            10.00
                                                                                                 certificates of deposit, or shares in banks, savings
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                                                                                                 and loan, thrift, building and loan, and homestead         Bank of America
                                                                                                 associations, or credit unions, brokerage houses,
                                                                                                 or cooperatives.


                                                                                                 3. Security deposits with public utilities,            X
                                                                                                 telephone companies, landlords, and others.

                                                                                                 4. Household goods and furnishings, including              HHG                                                               W                         1,500.00
                                                                                                 audio, video, and computer equipment.

                                                                                                 5. Books. Pictures and other art objects,              X
                                                                                                 antiques, stamp, coin, record, tape, compact disc,
                                                                                                 and other collections or collectibles.

                                                                                                 6. Wearing apparel.                                        Clothing                                                          W                           500.00
                                                                                                 7. Furs and jewelry.                                   X
                                                                                                 8. Firearms and sports, photographic, and other        X
                                                                                                 hobby equipment.

                                                                                                 9. Interests in insurance policies. Name               X
                                                                                                 insurance company of each policy and itemize
                                                                                                 surrender or refund value of each.

                                                                                                 10. Annuities. Itemize and name each issuer.           X
                                                                                                 11. Interests in an education IRA as defined in 26     X
                                                                                                 U.S.C. § 530(b)(1) or under a qualified State
                                                                                                 tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                 Give particulars. (File separately the record(s) of
                                                                                                 any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                 12. Interests in IRA, ERISA, Keogh, or other               401k                                                              W                         1,000.00
                                                                                                 pension or profit sharing plans. Give particulars.

                                                                                                 13. Stock and interests in incorporated and            X
                                                                                                 unincorporated businesses. Itemize.
                                                                                               B6B (OfficialCase  10-71569-wlh
                                                                                                             Form 6B) (12/07) -- Cont.                  Doc 1    Filed 04/19/10 Entered 04/19/10 20:20:12                         Desc Main
                                                                                                                                                                 Document Page 8 of 49

                                                                                               In re     Shamara Nyree Stokeling                                                           Case No.
                                                                                                                                  Debtor                                                              (If known)

                                                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                  CURRENT VALUE OF




                                                                                                                                                                                                             OR COMMUNITY
                                                                                                                                                                                                                                  DEBTOR’S INTEREST
                                                                                                                                                        N                                                                            IN PROPERTY,
                                                                                                           TYPE OF PROPERTY                             O                 DESCRIPTION AND LOCATION                                     WITHOUT
                                                                                                                                                        N                       OF PROPERTY                                        DEDUCTING ANY
                                                                                                                                                        E                                                                          SECURED CLAIM
                                                                                                                                                                                                                                    OR EXEMPTION


                                                                                                 14. Interests in partnerships or joint ventures.       X
                                                                                                 Itemize.

                                                                                                 15. Government and corporate bonds and other           X
                                                                                                 negotiable and non-negotiable instruments.

                                                                                                 16. Accounts receivable.                               X
                                                                                                 17. Alimony, maintenance, support, and property        X
                                                                                                 settlement to which the debtor is or may be
                                                                                                 entitled. Give particulars.

                                                                                                 18. Other liquidated debts owing debtor including      X
                                                                                                 tax refunds. Give particulars.

                                                                                                 19. Equitable or future interests, life estates, and   X
                                                                                                 rights or powers exercisable for the benefit of the
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                                                                                                 debtor other than those listed in Schedule A -
                                                                                                 Real Property.

                                                                                                 20. Contingent and noncontingent interests in          X
                                                                                                 estate or a decedent, death benefit plan, life
                                                                                                 insurance policy, or trust.

                                                                                                 21. Other contingent and unliquidated claims of        X
                                                                                                 every nature, including tax refunds, counterclaims
                                                                                                 of the debtor, and rights of setoff claims. Give
                                                                                                 estimated value of each.

                                                                                                 22. Patents, copyrights, and other intellectual        X
                                                                                                 property. Give particulars.

                                                                                                 23. Licenses, franchises, and other general            X
                                                                                                 intangibles. Give particulars.

                                                                                                 24. Customer lists or other compilations               X
                                                                                                 containing personally identifiable information (as
                                                                                                 defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                 debtor by individuals in connection with obtaining
                                                                                                 a product or service from the debtor primarily for
                                                                                                 personal, family, or household purposes.

                                                                                                 25. Automobiles, trucks, trailers, and other               2004 Lincoln Aviator                               W                        12,950.00
                                                                                                 vehicles and accessories.

                                                                                                 26. Boats, motors, and accessories.                    X
                                                                                                 27. Aircraft and accessories.                          X
                                                                                                 28. Office equipment, furnishings, and supplies.       X
                                                                                                 29. Machinery, fixtures, equipment, and supplies       X
                                                                                                 used in business.

                                                                                                 30. Inventory.                                         X
                                                                                                 31. Animals.                                           X
                                                                                                         Case
                                                                                               B6B (Official Form10-71569-wlh
                                                                                                                 6B) (12/07) -- Cont.            Doc 1   Filed 04/19/10 Entered 04/19/10 20:20:12                                            Desc Main
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                                                                                               In re     Shamara Nyree Stokeling                                                   Case No.
                                                                                                                                Debtor                                                                      (If known)

                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                             CURRENT VALUE OF




                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                             DEBTOR’S INTEREST
                                                                                                                                                 N                                                                                              IN PROPERTY,
                                                                                                           TYPE OF PROPERTY                      O             DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                 N                   OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                 E                                                                                            SECURED CLAIM
                                                                                                                                                                                                                                               OR EXEMPTION


                                                                                                 32. Crops - growing or harvested. Give          X
                                                                                                 particulars.

                                                                                                 33. Farming equipment and implements.           X
                                                                                                 34. Farm supplies, chemicals, and feed.         X
                                                                                                 35. Other personal property of any kind not     X
                                                                                                 already listed. Itemize.
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                                                                                                                                                                   0                                                                         $
                                                                                                                                                                          continuation sheets attached        Total                                15,960.00
                                                                                                                                                                          (Include amounts from any continuation
                                                                                                                                                                            sheets attached. Report total also on
                                                                                                                                                                                  Summary of Schedules.)
                                                                                                             Case 10-71569-wlh             Doc 1      Filed 04/19/10 Entered 04/19/10 20:20:12                            Desc Main
                                                                                                 B6C (Official Form 6C) (04/10)                       Document Page 10 of 49

                                                                                               In re     Shamara Nyree Stokeling                                                        Case No.
                                                                                                                         Debtor                                                                                (If known)

                                                                                                                        SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                 Debtor claims the exemptions to which debtor is entitled under:
                                                                                                 (Check one box)

                                                                                                       11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                       $146,450*.
                                                                                                       11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                          CURRENT
                                                                                                                                                              SPECIFY LAW                         VALUE OF           VALUE OF PROPERTY
                                                                                                           DESCRIPTION OF PROPERTY                          PROVIDING EACH                        CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                               EXEMPTION                         EXEMPTION               EXEMPTION


                                                                                                  Checking/Savings                                OCGA §44-13-100(6)                                       10.00                      10.00

                                                                                                  HHG                                             OCGA §44-13-100(4)                                    1,500.00                   1,500.00

                                                                                                  Clothing                                        OCGA §44-13-100(4)                                     500.00                      500.00

                                                                                                  401k                                            OCGA §44-13-100(2.1)(C)                               1,000.00                   1,000.00
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                                                                                                 *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                        Case 10-71569-wlh                 Doc 1                            Filed 04/19/10 Entered 04/19/10 20:20:12                                                Desc Main
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                                                                                               B6D (Official Form 6D) (12/07)

                                                                                                        Shamara Nyree Stokeling
                                                                                               In re _______________________________________________,                                                              Case No. _________________________________
                                                                                                                             Debtor                                                                                                                              (If known)

                                                                                                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                         State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                               by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                               useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                               such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                          List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                               address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                               §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                               include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                               husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                               "Husband, Wife, Joint, or Community."
                                                                                                         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                               labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                               one of these three columns.)
                                                                                                         Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                               labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                               Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                               the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                             AMOUNT
                                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                 UNLIQUIDATED
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                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                                                   DATE CLAIM WAS INCURRED,                                                     OF
                                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                            ORCOMMUNITY




                                                                                                          CREDITOR’S NAME,
                                                                                                           MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                     CLAIM           UNSECURED
                                                                                                         INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                       WITHOUT           PORTION,
                                                                                                        AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                     DEDUCTING           IF ANY
                                                                                                          (See Instructions Above.)                                                     SUBJECT TO LIEN                                                      VALUE OF
                                                                                                                                                                                                                                                           COLLATERAL


                                                                                               ACCOUNT NO. 30000183547061000                                                    Incurred: 2008                                                                                  4,100.00
                                                                                               Santander Consumer USA                                                           Lien: Title Lien
                                                                                               Attn: Bankruptcy Dept                                                            Security: 2004 Lincoln Aviator
                                                                                                                                                                                                                                                             17,050.00
                                                                                               Po Box 560284                                                                    arrears 514.43
                                                                                               Dallas, TX 75356-0284
                                                                                                                                                                                VALUE $                12,950.00
                                                                                               ACCOUNT NO.




                                                                                                                                                                                VALUE $
                                                                                               ACCOUNT NO.




                                                                                                                                                                                 VALUE $

                                                                                                  0
                                                                                                _______continuation sheets attached                                                                                Subtotal     $                            17,050.00   $      4,100.00
                                                                                                                                                                                                           (Total of this page)
                                                                                                                                                                                                                       Total    $                            17,050.00   $      4,100.00
                                                                                                                                                                                                        (Use only on last page)
                                                                                                                                                                                                                                                 (Report also on       (If applicable, report
                                                                                                                                                                                                                                                 Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                       Summary of Certain
                                                                                                                                                                                                                                                                       Liabilities and Related
                                                                                                                                                                                                                                                                       Data.)
                                                                                                         Case 10-71569-wlh                 Doc 1        Filed 04/19/10 Entered 04/19/10 20:20:12                                       Desc Main
                                                                                                                                                        Document Page 12 of 49
                                                                                               B6E (Official Form 6E) (04/10)


                                                                                                          Shamara Nyree Stokeling
                                                                                                  In re________________________________________________________________,                             Case No.______________________________
                                                                                                                          Debtor                                                                                   (if known)

                                                                                                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                 unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                 address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                 property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                 the type of priority.

                                                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                 the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                 entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                 both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                 Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                 in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                 more than one of these three columns.)

                                                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                 Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                 amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                 primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.
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                                                                                                          Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                 amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                 with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                 Data.



                                                                                                     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                                      Domestic Support Obligations

                                                                                                     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                               or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                               11 U.S.C. § 507(a)(1).


                                                                                                      Extensions of credit in an involuntary case

                                                                                                     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                               appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                      Wages, salaries, and commissions

                                                                                                        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                      Contributions to employee benefit plans

                                                                                                           Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                         *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                         Case 10-71569-wlh                 Doc 1       Filed 04/19/10 Entered 04/19/10 20:20:12                               Desc Main
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                                                                                               B6E (Official Form 6E) (04/10) - Cont.


                                                                                                             Shamara Nyree Stokeling
                                                                                                     In re________________________________________________________________,                      Case No.______________________________
                                                                                                                             Debtor                                                                            (if known)




                                                                                                      Certain farmers and fishermen
                                                                                                    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                      Deposits by individuals
                                                                                                    Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                      Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                      Commitments to Maintain the Capital of an Insured Depository Institution
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                                                                                                   Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                U.S.C. § 507 (a)(9).



                                                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                               alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                               alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                                 * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                 adjustment.




                                                                                                                                                          1 continuation sheets attached
                                                                                                                                                         ____
                                                                                                        Case 10-71569-wlh                    Doc 1                                 Filed 04/19/10 Entered 04/19/10 20:20:12                                                        Desc Main
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                                                                                               B6E (Official Form 6E) (04/10) - Cont.


                                                                                                        Shamara Nyree Stokeling
                                                                                                 In re __________________________________________________,                                                                                          Case No. _________________________________
                                                                                                                                   Debtor                                                                                                                                     (If known)

                                                                                                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                          (Continuation Sheet)                                           Sec. 507(a)(8)

                                                                                                                                                                                                                                                    Type of Priority for Claims Listed on This Sheet




                                                                                                                                                            HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                              ORCOMMUNITY




                                                                                                                                                                                                             CONTINGENT
                                                                                                                                                                                                                                                                                             AMOUNT

                                                                                                                                                 CODEBTOR
                                                                                                           CREDITOR’S NAME,                                                          DATE CLAIM WAS




                                                                                                                                                                                                                                         DISPUTED
                                                                                                           MAILING ADDRESS                                                            INCURRED AND                                                        AMOUNT            AMOUNT             NOT
                                                                                                         INCLUDING ZIP CODE,                                                         CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
                                                                                                        AND ACCOUNT NUMBER                                                              FOR CLAIM                                                          CLAIM           PRIORITY            TO
                                                                                                          (See instructions above..)                                                                                                                                                       PRIORITY, IF
                                                                                                                                                                                                                                                                                               ANY

                                                                                               ACCOUNT NO.
                                                                                                                                                                                    Consideration: Taxes
                                                                                               Georgia Department of Revenue
                                                                                               Po Box 161108                                                                                                                                                1,160.00               0.00         1,160.00
                                                                                               Atlanta, GA 30321



                                                                                               ACCOUNT NO.
                                                                                                                                                                                    Incurred: 2009
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                                                                                               Georgia Department of Revenue                                                        Consideration: 2009
                                                                                               Po Box 161108                                                                        Taxes
                                                                                                                                                                                                                                                              159.00            159.00              0.00
                                                                                               Atlanta, GA 30321



                                                                                               ACCOUNT NO.                                                                          Consideration: Taxes
                                                                                               Internal Revenue Service
                                                                                               401 W. Peachtree Street NW                                                                                                                                   9,472.00           9,472.00             0.00
                                                                                               Stop 334-D, Room 400
                                                                                               Atlanta, GA 30308


                                                                                               ACCOUNT NO.                                                                          Incurred: 2008-2009
                                                                                               Internal Revenue Service                                                             Consideration:
                                                                                               401 W. Peachtree Street NW                                                           2008-2009 Taxes
                                                                                                                                                                                                                                                            7,519.00           7,519.00             0.00
                                                                                               Stop 334-D, Room 400
                                                                                               Atlanta, GA 30308


                                                                                                          1 of ___continuation
                                                                                                                1                                                                                        Subtotal                                    $     18,310.00      $                $
                                                                                               Sheet no. ___                    sheets attached to Schedule of                                  (Totals of this page)
                                                                                               Creditors Holding Priority Claims
                                                                                                                                                                                                          Total                                      $     18,310.00
                                                                                                                                                             (Use only on last page of the completed
                                                                                                                                                             Schedule E.) Report also on the Summary
                                                                                                                                                             of Schedules)

                                                                                                                                                                                                           Totals                                    $                    $   17,150.00     $   1,160.00
                                                                                                                                                             (Use only on last page of the completed
                                                                                                                                                             Schedule E. If applicable, report also on
                                                                                                                                                             the Statistical Summary of Certain
                                                                                                                                                             Liabilities and Related Data.)
                                                                                                          Case 10-71569-wlh                     Doc 1                             Filed 04/19/10 Entered 04/19/10 20:20:12                                              Desc Main
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                                                                                               B6F (Official Form 6F) (12/07)

                                                                                                        Shamara Nyree Stokeling
                                                                                                In re __________________________________________,                                                                 Case No. _________________________________
                                                                                                                               Debtor                                                                                                                        (If known)

                                                                                                     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                          Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                Related Data.
                                                                                                         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                 CONTINGENT
                                                                                                                                                    CODEBTOR




                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                             DISPUTED
                                                                                                           CREDITOR’S NAME,                                                                                                                                                 AMOUNT
                                                                                                            MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                     OF
                                                                                                          INCLUDING ZIP CODE,                                                                                                                                                CLAIM
                                                                                                         AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                           (See instructions above.)
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                                                                                               ACCOUNT NO.         2025867701                                                         1. Collection
                                                                                               Afni, Inc.
                                                                                               Po Box 3427                                                                                                                                                                  Notice Only
                                                                                               Bloomington, IL 61702



                                                                                               ACCOUNT NO.         2025867701
                                                                                               Afni, Inc.*
                                                                                               Attn: DP Recovery Support                                                                                                                                                    Notice Only
                                                                                               PO Box 3427
                                                                                               Bloomington, IL, 61702


                                                                                               ACCOUNT NO.         40509627                                                           1. Collection
                                                                                               Asset Acceptance Llc                                                                   2. Account Closed
                                                                                               Po Box 2036                                                                                                                                                                  Notice Only
                                                                                               Warren, MI 48090



                                                                                               ACCOUNT NO.         40509627
                                                                                               Asset Acceptance*
                                                                                               PO Box 2036                                                                                                                                                                  Notice Only
                                                                                               Warren, MI, 48090




                                                                                                     6
                                                                                                   _______continuation sheets attached                                                                                         Subtotal                                 $                 0.00
                                                                                                                                                                                                                   Total                                                $
                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                      Summary of Certain Liabilities and Related Data.)
                                                                                                        Case 10-71569-wlh                  Doc 1                                 Filed 04/19/10 Entered 04/19/10 20:20:12                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Shamara Nyree Stokeling
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      3301                                                              Incurred: 03/08
                                                                                               AT&T                                                                               Consideration: Account
                                                                                               Po Box 105503                                                                                                                                                                                 277.89
                                                                                               Atlanta, GA 30348



                                                                                               ACCOUNT NO.                                                                        Incurred: 07/02
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                                                                                               Atlanta Dental Group                                                               Consideration: Medical
                                                                                               1624 Piedmont                                                                                                                                                                                1,795.14
                                                                                               Atlanta, GA 30324



                                                                                               ACCOUNT NO.      334012212179                                                      Consideration: overdraft
                                                                                               Bank of America
                                                                                               2108 North Church St                                                                                                                                                                          702.62
                                                                                               Greensboro, NC 28209



                                                                                               ACCOUNT NO.      5575                                                              1. Charge Off for $480 on 03/10
                                                                                               Bank Of America                                                                    2. Account Closed By Grantor
                                                                                               4060 Ogletown/stanton Rd                                                                                                                                                              Notice Only
                                                                                               Newark, DE 19713



                                                                                                ACCOUNT NO.     8897                                                              Incurred: 11/09
                                                                                               Bank of America                                                                    Consideration: Account
                                                                                               Po Box 851001                                                                                                                                                                                 480.52
                                                                                               Dallas, TX 75285-1001



                                                                                                          1 of _____continuation
                                                                                               Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $          3,256.17
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                        Case 10-71569-wlh                  Doc 1                                 Filed 04/19/10 Entered 04/19/10 20:20:12                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Shamara Nyree Stokeling
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      9492                                                              Incurred: 2008
                                                                                               Best Bank                                                                          Consideration: Credit card
                                                                                               400 West Brown Deer Road                                                                                                                                                                       72.65
                                                                                               Brown Deer, WI 53209



                                                                                               ACCOUNT NO.      529107156918                                                      1. Paid
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                                                                                               Cap One                                                                            2. Account Closed By Consumer
                                                                                               Po Box 85520                                                                                                                                                                          Notice Only
                                                                                               Richmond, VA 23285



                                                                                               ACCOUNT NO.      529107156918
                                                                                               Capital One, N.a.*
                                                                                               C/O American Infosource                                                                                                                                                               Notice Only
                                                                                               PO Box 54529
                                                                                               Oklahoma City, OK, 73154


                                                                                               ACCOUNT NO.      5508                                                              Incurred: 2008
                                                                                               Comcast                                                                            Consideration: Account
                                                                                               Po Box 530099                                                                                                                                                                                 225.58
                                                                                               Atlanta, GA 30353-0099



                                                                                                ACCOUNT NO.     2199                                                              Incurred: 2003
                                                                                               Dunwoody Medical Center                                                            Consideration: Account
                                                                                               4575 North Shallowford Road                                                                                                                                                                   194.00
                                                                                               Atlanta, GA 30338



                                                                                                          2 of _____continuation
                                                                                               Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $           492.23
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                        Case 10-71569-wlh                  Doc 1                                 Filed 04/19/10 Entered 04/19/10 20:20:12                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Shamara Nyree Stokeling
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      8458                                                              Incurred: 2003
                                                                                               GA Natural Gas                                                                     Consideration: Utility
                                                                                               Po Box 105445                                                                                                                                                                                 393.68
                                                                                               Atlanta, GA 30348



                                                                                               ACCOUNT NO.      4813253                                                           1. Collection
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                                                                                               Genesis Financial Solu                                                             2. Account Closed
                                                                                               8705 Sw Nimbus Ave Ste 3                                                                                                                                                              Notice Only
                                                                                               Beaverton, OR 97008



                                                                                               ACCOUNT NO.      4813253
                                                                                               Genesis Financial Solu*
                                                                                               PO Box 4865                                                                                                                                                                           Notice Only
                                                                                               Beaverton, OR, 97076



                                                                                               ACCOUNT NO.      3223                                                              Incurred: 2008
                                                                                               Georgia Department of Labor                                                        Consideration: Account
                                                                                               1630 Phoenix Blvd, S. 205                                                                                                                                                                     523.00
                                                                                               College Park, GA 30349



                                                                                                ACCOUNT NO.     8539                                                              Incurred: 2003
                                                                                               Infinite Energy                                                                    Consideration: Utility
                                                                                               Po Box 791263                                                                                                                                                                                 321.00
                                                                                               Baltimore, MD 21279



                                                                                                          3 of _____continuation
                                                                                               Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $          1,237.68
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                        Case 10-71569-wlh                  Doc 1                                 Filed 04/19/10 Entered 04/19/10 20:20:12                                                        Desc Main
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                                                                                                         Shamara Nyree Stokeling
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.                                                                        Incurred: 10/05
                                                                                               Junkman's Daughter                                                                 Consideration: Account
                                                                                               464 Moreland Ave, NE                                                                                                                                                                          111.00
                                                                                               Atlanta, GA 30307



                                                                                               ACCOUNT NO.      880R                                                              Incurred: 04/06
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                                                                                               Just Right Auto                                                                    Consideration: deficiency
                                                                                               3280 Commerce Ave                                                                                                                                                                           13,524.00
                                                                                               Duluth,GA 30096



                                                                                               ACCOUNT NO.      C4880R                                                            1. Repossession
                                                                                               Just Right Auto Sales                                                              2. Account Closed By Grantor
                                                                                               Dba Just Right Auto Sales                                                                                                                                                             Notice Only
                                                                                               Conyers, GA 30094



                                                                                               ACCOUNT NO.                                                                        Incurred: 2005
                                                                                               Mitchell N. Kay/First Nation Bank of                                               Consideration: Account
                                                                                               Mar                                                                                                                                                                                           875.68
                                                                                               Po Box 9006
                                                                                               Smithtown, NY 11787-9006


                                                                                                ACCOUNT NO.     1632483                                                           1. Collection
                                                                                               Ncc Business Svcs Inc
                                                                                               3733 University Blvd W                                                                                                                                                                Notice Only
                                                                                               Jacksonville, FL 32217



                                                                                                          4 of _____continuation
                                                                                               Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $         14,510.68
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                        Case 10-71569-wlh                  Doc 1                                 Filed 04/19/10 Entered 04/19/10 20:20:12                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Shamara Nyree Stokeling
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      5115779                                                           1. Paid Collection
                                                                                               Nco Fin/27                                                                         2. Account Closed
                                                                                               Po Box 7216                                                                                                                                                                           Notice Only
                                                                                               Philadelphia, PA 19101



                                                                                               ACCOUNT NO.      5115779
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                                                                                               Nco Fin/27*
                                                                                               Attn: Bankruptcy                                                                                                                                                                      Notice Only
                                                                                               PO Box 15889
                                                                                               Wilmington, DE, 19850


                                                                                               ACCOUNT NO.      6262                                                              Incurred: 2003
                                                                                               Sprint/Nextel                                                                      Consideration: Account
                                                                                               Po Box 4181                                                                                                                                                                                   332.03
                                                                                               Carol Stream, IL 60197



                                                                                               ACCOUNT NO.      6030                                                              Incurred: 2007
                                                                                               Sprint/Nextel                                                                      Consideration: Account
                                                                                               Po Box 8077                                                                                                                                                                                   179.25
                                                                                               London, KY 40742



                                                                                                ACCOUNT NO.     4150                                                              Incurred: 11/07
                                                                                               Target                                                                             Consideration: Credit card
                                                                                               Po Box 673                                                                                                                                                                                    469.00
                                                                                               Minneapolis, MN 55440



                                                                                                          5 of _____continuation
                                                                                               Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $           980.28
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                        Case 10-71569-wlh                  Doc 1                                 Filed 04/19/10 Entered 04/19/10 20:20:12                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Shamara Nyree Stokeling
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      42573
                                                                                               Target*
                                                                                               PO Box 9475                                                                                                                                                                           Notice Only
                                                                                               Minneapolis, MN, 55459



                                                                                               ACCOUNT NO.      42573                                                             1. Charge Off for $469 on 04/08
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                                                                                               Tnb - Target                                                                       2. Account Closed By Grantor
                                                                                               Po Box 673                                                                                                                                                                            Notice Only
                                                                                               Minneapolis, MN 55440



                                                                                               ACCOUNT NO.                                                                        Consideration: deficiency
                                                                                               United Auto Acceptance
                                                                                               5671 Riverdale Road                                                                                                                                                                         10,033.00
                                                                                               College Park, GA 30349



                                                                                               ACCOUNT NO.      2653                                                              Incurred: 2003
                                                                                               Verizon Avenue                                                                     Consideration: Account
                                                                                                                                                                                                                                                                                             444.24




                                                                                                ACCOUNT NO.                                                                       Incurred: 04/08
                                                                                               Windsor of Mt. Vernon Apts                                                         Consideration: Account
                                                                                               1265 Mount Vernon Highway                                                                                                                                                                    4,092.00
                                                                                               Atlanta, GA 30338



                                                                                                          6 of _____continuation
                                                                                               Sheet no. _____    6                sheets attached                                                                                     Subtotal                                  $         14,569.24
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $         35,046.28
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                           Case 10-71569-wlh               Doc 1       Filed 04/19/10 Entered 04/19/10 20:20:12                                Desc Main
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                                                                                                       Shamara Nyree Stokeling                                                    Case No.
                                                                                               In re
                                                                                                                         Debtor                                                                               (if known)

                                                                                                       SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                           Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                 State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                 names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                 contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                 guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                       Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                  DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                       NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                          OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                       NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                         Case 10-71569-wlh                Doc 1       Filed 04/19/10 Entered 04/19/10 20:20:12                              Desc Main
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                                                                                               In re   Shamara Nyree Stokeling                                                   Case No.
                                                                                                                        Debtor                                                                              (if known)


                                                                                                                                           SCHEDULE H - CODEBTORS
                                                                                                   Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                               debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                               property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                               Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                               name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                               commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                               commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                               parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                               Fed. Bankr. P. 1007(m).
                                                                                                   Check this box if debtor has no codebtors.



                                                                                                             NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                            Case 10-71569-wlh            Doc 1       Filed 04/19/10 Entered 04/19/10 20:20:12                            Desc Main
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                                                                                               B6I (Official Form 6I) (12/07)


                                                                                                            Shamara Nyree Stokeling
                                                                                               In re                                                                                       Case
                                                                                                                      Debtor                                                                                  (if known)
                                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                               The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                               filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                               calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                                Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                Status:   Separated             RELATIONSHIP(S): son, Sister                                                      AGE(S): 13 years, 28 years
                                                                                                Employment:                             DEBTOR                                                                 SPOUSE
                                                                                                Occupation                        Executive Assistant
                                                                                                Name of Employer                  The Coca Cola Company
                                                                                                How long employed                 9 months
                                                                                                Address of Employer               Po Box 1734                                                                    N.A.
                                                                                                                                  Atlatna, GA 30301

                                                                                               INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                               1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                               5,754.00
                                                                                                                                                                                                          $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
                                                                                                     (Prorate if not paid monthly.)
                                                                                               2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                          $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________

                                                                                               3. SUBTOTAL                                                                                                      5,754.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
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                                                                                               4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                  881.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                       a.   Payroll taxes and social security
                                                                                                                                                                                                                  167.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                       b.   Insurance
                                                                                                       c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                       d.                    401k: $400.00 and vacation: $98.00
                                                                                                            Other (Specify:___________________________________________________________)                           498.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                1,546.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                              4,208.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                  (Attach detailed statement)
                                                                                               8. Income from real property                                                                                         0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                               9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                               10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                  debtor’s use or that of dependents listed above.
                                                                                               11. Social security or other government assistance
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                  ( Specify)
                                                                                               12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                               13. Other monthly income                                                                                             0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                   (Specify)                                                                                                        0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                               14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                                    0.00          $ _____________
                                                                                                                                                                                                                                           N.A.
                                                                                               15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 4,208.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                               $ _____________
                                                                                                                                                                                                                              4,208.00
                                                                                                   from line 15)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                      on Statistical Summary of Certain Liabilities and Related Data)

                                                                                               17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                        None
                                                                                                          Case
                                                                                                  B6J (Official    10-71569-wlh
                                                                                                                Form 6J) (12/07)            Doc 1      Filed 04/19/10 Entered 04/19/10 20:20:12                              Desc Main
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                                                                                                In re Shamara Nyree Stokeling                                                             Case No.
                                                                                                                   Debtor                                                                                   (if known)

                                                                                                         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                            Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                 filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                                 calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                       Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                       labeled “Spouse.”


                                                                                               1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                             855.00
                                                                                                          a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                          b. Is property insurance included?                 Yes ________ No ________
                                                                                               2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                             390.00
                                                                                                              b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                             115.00
                                                                                                              c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                             139.00
                                                                                                                        cable/internet
                                                                                                              d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                             119.00
                                                                                               3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                              50.00
                                                                                               4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                             800.00
                                                                                               5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                             100.00
                                                                                               6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                             100.00
                                                                                               7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                              90.00
                                                                                               8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                             325.00
                                                                                               9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
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                                                                                               10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                             100.00
                                                                                               11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                          a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                             100.00
                                                                                                          e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                               (Specify)                                                                                                                            $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                          a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                               0.00
                                                                                                          b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               17. Other                Grooming                                                                                                    $______________
                                                                                                                                                                                                                                             100.00
                                                                                               18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                           3,383.00
                                                                                               if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                               19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                         None


                                                                                               20. STATEMENT OF MONTHLY NET INCOME
                                                                                                       a. Average monthly income from Line 15 of Schedule I                                                                             4,208.00
                                                                                                                                                                                                                                 $ ______________
                                                                                                       b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                        3,383.00
                                                                                                       c. Monthly net income (a. minus b.)                                                                                                825.00
                                                                                                                                                                                                                                 $ ______________
                                                                                                         Case 10-71569-wlh                Doc 1      Filed 04/19/10 Entered 04/19/10 20:20:12                            Desc Main
                                                                                                                                                     Document Page 26 of 49
                                                                                                     B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                          United States Bankruptcy Court
                                                                                                                                          Northern District of Georgia, Atlanta Division
                                                                                                                 Shamara Nyree Stokeling
                                                                                                    In re                                                                                        Case No.
                                                                                                                                                     Debtor
                                                                                                                                                                                                 Chapter        13

                                                                                                                                                    SUMMARY OF SCHEDULES
                                                                                               Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                               I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                               claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                               Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                          AMOUNTS SCHEDULED
                                                                                                                                              ATTACHED
                                                                                                 NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                                 A – Real Property
                                                                                                                                              YES                     1            $           0.00

                                                                                                 B – Personal Property
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                                                                                                                                              YES                     3            $     15,960.00

                                                                                                 C – Property Claimed
                                                                                                     as exempt                                YES                     1

                                                                                                 D – Creditors Holding
                                                                                                    Secured Claims                            YES                     1                                  $      17,050.00

                                                                                                 E - Creditors Holding Unsecured
                                                                                                     Priority Claims                          YES                     3                                  $      18,310.00
                                                                                                    (Total of Claims on Schedule E)
                                                                                                 F - Creditors Holding Unsecured
                                                                                                     Nonpriority Claims                       YES                     7                                  $      35,046.28

                                                                                                 G - Executory Contracts and
                                                                                                     Unexpired Leases                         YES                     1

                                                                                                 H - Codebtors
                                                                                                                                              YES                     1

                                                                                                 I - Current Income of
                                                                                                     Individual Debtor(s)                     YES                     1                                                        $     4,208.00

                                                                                                 J - Current Expenditures of Individual
                                                                                                     Debtors(s)                               YES                     1                                                        $     3,383.00


                                                                                                                                      TOTAL                           20           $     15,960.00       $      70,406.28
                                                                                                    Case
                                                                                                 Official   10-71569-wlh
                                                                                                          Form                   Doc 1 (12/07)
                                                                                                               6 - Statistical Summary    Filed           04/19/10 Entered 04/19/10 20:20:12                       Desc Main
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                                                                                                                                     United States Bankruptcy Court
                                                                                                                                         Northern District of Georgia, Atlanta Division

                                                                                                            In re       Shamara Nyree Stokeling                                             Case No.
                                                                                                                                                      Debtor
                                                                                                                                                                                            Chapter       13

                                                                                               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                    If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                               §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                               information here.

                                                                                               This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                               Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                  Type of Liability                                                         Amount

                                                                                                  Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                     0.00
                                                                                                  Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                                  Schedule E)
                                                                                                                                                                                18,310.00
                                                                                                  Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
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                                                                                                  Schedule E) (whether disputed or undisputed)                                       0.00
                                                                                                  Student Loan Obligations (from Schedule F)                                $        0.00
                                                                                                  Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                  Obligations Not Reported on Schedule E                                             0.00
                                                                                                  Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                                                                                            $        0.00
                                                                                                  (from Schedule F)

                                                                                                                                                                   TOTAL    $   18,310.00


                                                                                                 State the Following:
                                                                                                  Average Income (from Schedule I, Line 16)                                 $    4,208.00
                                                                                                  Average Expenses (from Schedule J, Line 18)                               $    3,383.00
                                                                                                  Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                  22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                 5,428.33



                                                                                                 State the Following:
                                                                                                  1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                                  ANY” column
                                                                                                                                                                                            $      4,100.00

                                                                                                  2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                  PRIORITY” column.
                                                                                                                                                                                17,150.00

                                                                                                  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                         $
                                                                                                  PRIORITY, IF ANY” column                                                                         1,160.00

                                                                                                  4. Total from Schedule F                                                                  $    35,046.28
                                                                                                  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                              $    40,306.28
                                                                                                               Case
                                                                                                     B6 (Official Form 10-71569-wlh
                                                                                                                       6 - Declaration) (12/07)Doc                                1      Filed 04/19/10 Entered 04/19/10 20:20:12                                                                  Desc Main
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                                                                                                               Shamara Nyree Stokeling
                                                                                                     In re                                                                                                                                        Case No.
                                                                                                                                            Debtor                                                                                                                                   (If known)

                                                                                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                         22 sheets, and that they
                                                                                                                I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                                     are true and correct to the best of my knowledge, information, and belief.



                                                                                                      Date       04/19/10                                                                                                  Signature:          /s/ Shamara Nyree Stokeling
                                                                                                                                                                                                                                                                              Debtor:


                                                                                                      Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                     (Joint Debtor, if any)

                                                                                                                                                                                                                                  [If joint case, both spouses must sign.]
                                                                                                  -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                              DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                accepting any fee from the debtor, as required by that section.


                                                                                                Printed or Typed Name and Title, if any,                                                                                             Social Security No.
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                                                                                                of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                 If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                 who signs this document.




                                                                                                 Address

                                                                                                 X
                                                                                                                      Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                               Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                               If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                               A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                               18 U.S.C. § 156.
                                                                                               -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                     I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                               or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                               in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                               shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                               Date                                                                                                                 Signature:


                                                                                                                                                                                                                                     [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                       Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                     Case 10-71569-wlh                 Doc 1       Filed 04/19/10 Entered 04/19/10 20:20:12                                Desc Main
                                                                                                  B7 (Official Form 7) (04/10)
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                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                         Northern District of Georgia, Atlanta Division

                                                                                               In Re Shamara Nyree Stokeling                                                                        Case No.
                                                                                                                                                                                                                     (if known)


                                                                                                                                          STATEMENT OF FINANCIAL AFFAIRS

                                                                                                               This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                     the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                     information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                     filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                     provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                     indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                     or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                     R. Bankr. P. 1007(m).

                                                                                                               Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                     must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                     additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                     case number (if known), and the number of the question.

                                                                                                                                                                  DEFINITIONS

                                                                                                                "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                     individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                     the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                     the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                     employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
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                                                                                                     in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                     their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                     percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                     such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                1. Income from employment or operation of business

                                                                                                                State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                    None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                spouses are separated and a joint petition is not filed.)

                                                                                                                        AMOUNT                                                SOURCE

                                                                                                         2010(db)      15,000.00      YTD

                                                                                                         2009(db)      64,000.00

                                                                                                         2008(db)      55,000.00



                                                                                                         2010(jdb)

                                                                                                         2009(jdb)

                                                                                                         2008(jdb)
                                                                                               Case 10-71569-wlh                   Doc 1        Filed 04/19/10 Entered 04/19/10 20:20:12                                    Desc Main
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                                                                                                          2.   Income other than from employment or operation of business

                                                                                               None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                          of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                          particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                          12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                          separated and a joint petition is not filed.)

                                                                                                           AMOUNT                                                                SOURCE




                                                                                                          3. Payments to creditors
                                                                                               None

                                                                                                          Complete a. or b., as appropriate, and c.
                                                                                                          a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                          or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                          counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                               NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                              PAYMENTS                                PAID                  OWING
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                                                                                               None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                          within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                          constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk
                                                                                                          (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                          alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                          (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                               *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.

                                                                                               NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
                                                                                                Case 10-71569-wlh              Doc 1       Filed 04/19/10 Entered 04/19/10 20:20:12                                   Desc Main
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                                                                                               None

                                                                                                      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                      for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                      include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                      and a joint petition is not filed.)


                                                                                                NAME AND ADDRESS OF CREDITOR                             DATES OF                        AMOUNT PAID             AMOUNT STILL
                                                                                                 AND RELATIONSHIP TO DEBTOR                              PAYMENTS                                                   OWING


                                                                                                      4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                               None   a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                      information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                      and a joint petition is not filed.)


                                                                                                CAPTION OF SUIT               NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                               AND CASE NUMBER                                                           AGENCY AND LOCATION                          DISPOSITION


                                                                                               None   b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                      one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                      13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
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                                                                                                      unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF                                       DATE OF                                        DESCRIPTION AND
                                                                                                PERSON FOR WHOSE BENEFIT                                    SEIZURE                                       VALUE OF PROPERTY
                                                                                                  PROPERTY WAS SEIZED


                                                                                                      5.   Repossessions, foreclosures and returns

                                                                                               None         List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                      lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                      (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                      both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                   NAME AND                                DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                  ADDRESS OF                                FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                               CREDITOR OR SELLER                          TRANSFER OR RETURN
                                                                                               Case 10-71569-wlh               Doc 1        Filed 04/19/10 Entered 04/19/10 20:20:12                                 Desc Main
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                                                                                                       6. Assignments and Receiverships

                                                                                               None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                       assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                       joint petition is not filed.)


                                                                                                       NAME AND                                    DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                      ADDRESS OF                                                                                      ASSIGNMENT
                                                                                                        ASSIGNEE                                                                                     OR SETTLEMENT


                                                                                               None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                       year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                       the spouses are separated and a joint petition is not filed.)


                                                                                                       NAME AND                          NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                      ADDRESS OF                         OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                      CUSTODIAN                               & NUMBER



                                                                                                       7.   Gifts
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                                                                                               None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                       case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                       member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                       12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                       unless the spouses are separated and a joint petition is not filed.)


                                                                                                      NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                     ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                               PERSON OR ORGANIZATION


                                                                                                       8.   Losses

                                                                                               None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                       commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                       chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                       separated and a joint petition is not filed.)


                                                                                                  DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                   AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                  OF PROPERTY                                   INSURANCE, GIVE PARTICULARS
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                                                                                                         9.   Payments related to debt counseling or bankruptcy

                                                                                               None           List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                         for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                         bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                          NAME AND ADDRESS                         DATE OF PAYMENT,                              AMOUNT OF MONEY OR
                                                                                                              OF PAYEE                             NAME OF PAYOR IF                                DESCRIPTION AND
                                                                                                                                                  OTHER THAN DEBTOR                               VALUE OF PROPERTY

                                                                                               CCCS                                         4/10/10                                         50.00


                                                                                                         10. Other transfers

                                                                                               None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                         of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                         of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                      RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                        VALUE RECEIVED
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                                                                                                         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                         to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                               None

                                                                                                      NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                  TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                 VALUE OF PROPERTY OR
                                                                                                                                                                                              DEBTOR'S INTEREST IN PROPERTY


                                                                                                         11. Closed financial accounts

                                                                                               None            List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                         were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                         Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                         accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                         instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                         and a joint petition is not filed.)


                                                                                                        NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                       ADDRESS OF                           DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                       INSTITUTION                         AND AMOUNT OF FINAL BALANCE                                        OR CLOSING
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                                                                                                        12. Safe deposit boxes

                                                                                               None              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                        valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                        chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                        is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                           NAME AND                    NAMES AND ADDRESSES OF                     DESCRIPTION OF               DATE OF
                                                                                                        ADDRESS OF BANK               THOSE WITH ACCESS TO BOX                      CONTENTS                 TRANSFER OR
                                                                                                      OR OTHER DEPOSITORY                  OR DEPOSITORY                                                   SURRENDER, IF ANY


                                                                                                        13. Setoffs

                                                                                               None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                        preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                        information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                        and a joint petition is not filed.)


                                                                                                      NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                     OF                                      OF
                                                                                                                                                                   SETOFF                                  SETOFF

                                                                                                        14. Property held for another person
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                                                                                               None          List all property owned by another person that the debtor holds or controls.


                                                                                                          NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                       ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                                        15. Prior address of debtor
                                                                                               None
                                                                                                               If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                        premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                        joint petition is filed, report also any separate address of either spouse.


                                                                                                       ADDRESS                                          NAME USED                                    DATES OF OCCUPANCY


                                                                                               1951 Boulderview Drive                                                                        2009-2010
                                                                                               Atlanta, GA 30316
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                                                                                                       16. Spouses and Former Spouses
                                                                                               None
                                                                                                           If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                       eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                       any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                    NAME


                                                                                                       17. Environmental Sites

                                                                                                       For the purpose of this question, the following definitions apply:

                                                                                                       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                       wastes, or material.

                                                                                                                 "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                 presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                 "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                 hazardous material, pollutant, or contaminant or similar term under an Environmental Law
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                                                                                               None
                                                                                                       a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                       governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                       SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                      AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                       b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                       of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                               None

                                                                                                       SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                      AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                       c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                       with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                               None    was a party to the proceeding, and the docket number.


                                                                                                        NAME AND ADDRESS                              DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                      OF GOVERNMENTAL UNIT
                                                                                                      Case 10-71569-wlh                      Doc 1          Filed 04/19/10 Entered 04/19/10 20:20:12                                        Desc Main
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                                                                                                                 18. Nature, location and name of business

                                                                                                      None       a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                 businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                 managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                 other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                 which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                 preceding the commencement of this case.

                                                                                                                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                 beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                 voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                 beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                 voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                        NAME               LAST FOUR DIGITS OF                        ADDRESS                    NATURE OF BUSINESS BEGINNING AND
                                                                                                                           SOCIAL-SECURITY OR                                                                       ENDING DATES
                                                                                                                            OTHER INDIVIDUAL
                                                                                                                             TAXPAYER-I.D. NO.
                                                                                                                           (ITIN)/ COMPLETE EIN


                                                                                                                 b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                 U.S.C. § 101.
                                                                                                      None
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                                                                                                                 NAME                                                                                         ADDRESS




                                                                                                                               [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                        *    *    *    *    *    *


                                                                                                      [If completed by an individual or individual and spouse]

                                                                                                      I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                      thereto and that they are true and correct.
                                                                                                      04/19/10                                                                           /s/ Shamara Nyree Stokeling
                                                                                               Date                                                              Signature
                                                                                                                                                                 of Debtor               SHAMARA NYREE STOKELING
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                                                                                                                                                                       0 continuation sheets attached
                                                                                                                                                                     _____


                                                                                                                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                       DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                               rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                               have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                               in that section.




                                                                                               Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                               If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                               partner who signs this document.
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                                                                                               Address

                                                                                               X
                                                                                               Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                               Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                               not an individual:

                                                                                               If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                               A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                               or imprisonment or both. 18 U.S.C. §156.
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                                                                                               B 201B (Form 201B) (12/09)
                                                                                                                                     United States Bankruptcy Court
                                                                                                                                  Northern District of Georgia, Atlanta Division



                                                                                               In re   Shamara Nyree Stokeling                                                              Case No.
                                                                                                                         Debtor                                                                                    (If known)



                                                                                                                       CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                           UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                                                 Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                         I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                debtor the attached notice, as required by § 342(b) of the Bankruptcy Code




                                                                                                 Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                 Address:                                                                           preparer is not an individual, state the Social Security
                                                                                                                                                                                    number of the officer, principal, responsible person,
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                                                                                                                                                                                    or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                    (Required by 11 U.S.C. § 110.)

                                                                                                 X
                                                                                                 Signature of Bankruptcy Petition Preparer or officer,
                                                                                                 Principal, responsible person, or partner whose Social
                                                                                                 Security number is provided above.




                                                                                                                                                          Certification of the Debtor
                                                                                                          I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                Code

                                                                                                 Shamara Nyree Stokeling                                                            X   /s/ Shamara Nyree Stokeling
                                                                                                 Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                 Case No. (if known)                                                                X
                                                                                                                                                                                        Signature of Joint Debtor, (if any)           Date




                                                                                                 Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                 Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                 NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                 the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                 petition preparers on page 3 of Form B1 also include this certification.
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                                                                                                                                                            According to the calculations required by this statement:
                                                                                                       Shamara Nyree Stokeling                               The applicable commitment period is 3 years.
                                                                                               In re
                                                                                                                         Debtor(s)                           The applicable commitment period is 5 years.
                                                                                                                                                             Disposable income is determined under § 1325(b)(3).
                                                                                               Case Number:
                                                                                                                        (If known)
                                                                                                                                                             Disposable income not determined under § 1325(b)(3).
                                                                                                                                                           (Check the boxes as directed in Lines 17 and 23 of this statement.)

                                                                                                             CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                       AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                                               In addition to Schedule I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing
                                                                                               jointly. Joint debtors may complete one statement only.

                                                                                                                                                 Part I. REPORT OF INCOME
                                                                                                        Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                                         a.      Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                                                         b.      Married. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income") for Lines 2-10.
                                                                                                 1       All figures must reflect average monthly income received from all sources, derived during the       Column A      Column B
                                                                                                         six calendar months prior to filing the bankruptcy case, ending on the last day of the month        Debtor’s      Spouse’s
                                                                                                         before the filing. If the amount of monthly income varied during the six months, you must            Income        Income
                                                                                                         divide the six-month total by six, and enter the result on the appropriate line.
                                                                                                  2     Gross wages, salary, tips, bonuses, overtime, commissions.                                       $    5,428.33 $         N.A.
                                                                                                        Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                                        Line a and enter the difference in the appropriate column(s) of Line 3. If you operate more
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                                                                                                        than one business, profession or farm, enter aggregate numbers and provide details on an
                                                                                                        attachment. Do not enter a number less than zero. Do not include any part of the
                                                                                                  3     business expenses entered on Line b as a deduction in Part IV.

                                                                                                          a.        Gross receipts                                    $                      0.00
                                                                                                          b.        Ordinary and necessary business expenses          $                      0.00
                                                                                                          c.        Business income                                   Subtract Line b from Line a
                                                                                                                                                                                                         $       0.00 $          N.A.
                                                                                                        Rents and other real property income. Subtract Line b from Line a and enter the
                                                                                                        difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do
                                                                                                        not include any part of the operating expenses entered on Line b as a deduction in
                                                                                                        Part IV.
                                                                                                  4       a.        Gross receipts                                    $                      0.00
                                                                                                          b.        Ordinary and necessary operating expenses         $                      0.00
                                                                                                          c.        Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                                                         $       0.00 $          N.A.
                                                                                                  5     Interest, dividends and royalties.                                                               $       0.00 $          N.A.
                                                                                                  6     Pension and retirement income.                                                                   $       0.00 $          N.A.
                                                                                                        Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                  7     expenses of the debtor or the debtor's dependents, including child support paid for
                                                                                                        that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                                                        by the debtor’s spouse.                                                                          $       0.00 $          N.A.
                                                                                                         Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                                                         However, if you contend that unemployment compensation received by you or your spouse
                                                                                                         was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                                  8      Column A or B, but instead state the amount in the space below:

                                                                                                              Unemployment compensation claimed to
                                                                                                              be a benefit under the Social Security Act   Debtor $       0.00   Spouse $    N.A.                0.00 $          N.A.
                                                                                                                                                                                                         $
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                                                                                                     Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                     sources on a separate page. Total and enter on Line 9. Do not include alimony or
                                                                                                     separate maintenance payments paid by your spouse, but include all other
                                                                                                     payments of alimony or separate maintenance. Do not include any benefits received
                                                                                                9    under the Social Security Act or payments received as a victim of a war crime, crime against
                                                                                                     humanity, or as a victim of international or domestic terrorism.

                                                                                                        a.                                                                        $        0.00
                                                                                                        b.                                                                        $        0.00                 0.00           N.A.
                                                                                                                                                                                                      $                $

                                                                                                     Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                                               10    through 9 in Column B. Enter the total(s).                                                       $    5,428.33 $          N.A.

                                                                                                     Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
                                                                                                11   enter the total. If Column B has not been completed, enter the amount from Line 10,              $                     5,428.33
                                                                                                     Column A.

                                                                                                                 Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
                                                                                               12    Enter the Amount from Line 11.                                                                               $         5,428.33
                                                                                                     Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend
                                                                                                     that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
                                                                                                     your spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid
                                                                                                     on a regular basis for the household expenses of you or your dependents and specify, in the lines below,
                                                                                                     the basis for excluding this income (such as payment of the spouse's tax liability or the spouse's support
                                                                                                     of persons other than the debtor or the debtor's dependents) and the amount of income devoted to each
                                                                                                     purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
                                                                                                13   adjustment do not apply, enter zero.
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                                                                                                       a.                                                                         $        0.00
                                                                                                       b.                                                                         $
                                                                                                                                                                                           0.00
                                                                                                       c.                                                                         $
                                                                                                                                                                                           0.00
                                                                                                                                                                                                                                 0.00
                                                                                                     Total and enter on Line 13.                                                                                  $

                                                                                               14    Subtract Line 13 from Line 12 and enter the result.                                                          $         5,428.33

                                                                                               15    Annualized current monthly income for §1325(b)(4). Multiply the amount from Line 14 by
                                                                                                     the number 12 and enter the result.                                                                          $        65,139.96

                                                                                                     Applicable median family income. Enter the median family income for the applicable state and
                                                                                               16    household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                                     the bankruptcy court.)
                                                                                                                                             Georgia
                                                                                                     a. Enter debtor’s state of residence: _______________                                            3
                                                                                                                                                                b. Enter debtor’s household size: __________      $        60,887.00
                                                                                                     Application of §1325(b)(4). Check the applicable box and proceed as directed.

                                                                                                             The amount on Line 15 is less than or equal to the amount on Line 16. Check the box for "The
                                                                                                             applicable commitment period is 3 years" at the top of page 1 of this statement and continue with this statement.
                                                                                               17
                                                                                                             The amount on Line 15 is more than the amount on Line 16. Check the box for "The applicable
                                                                                                             commitment period is 5 years" at the top of page 1 of this statement and continue with this statement.


                                                                                                 Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                                               18    Enter the Amount from Line11.                                                                                $         5,428.33
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                                                                                                     Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19
                                                                                               19    the total of any income listed in Line 10, Column B that was NOT paid on a regular basis for the
                                                                                                     household expenses of you or your dependents. Specify, in the lines below, the basis for excluding the
                                                                                                     Column B income (such as payment of the spouse's tax liability or the spouse's support of persons other
                                                                                                     than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
                                                                                                     necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment
                                                                                                     do not apply, enter zero.


                                                                                                        a.                                                                       $        0.00
                                                                                                        b.                                                                       $        0.00
                                                                                                        c.                                                                       $        0.00

                                                                                                      Total and enter on Line 19.                                                                                $              0.00
                                                                                               20    Current monthly income for §1325(b)(3). Subtract Line 19 from Line 18 and enter the result. $                      5,428.33
                                                                                               21    Annualized current monthly income for §1325(b)(3). Multiply the amount from Line 20 by
                                                                                                     the number 12 and enter the result.                                                                         $     65,139.96
                                                                                               22    Applicable median family income. Enter the amount from Line 16.                                             $
                                                                                                                                                                                                                       60,887.00
                                                                                                     Application of §1325(b)(3). Check the applicable box and proceed as directed.
                                                                                                             The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income
                                                                                                             is determined under §1325(b)(3)." at the top of page 1 of this statement and complete the remaining parts of this
                                                                                               23            statement.
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                                                                                                             The amount on Line 21 is not more than the amount on Line 22. Check the box for " Disposable
                                                                                                             income is not determined under §1325(b)(3)" at the top of page 1 of this statement and continue with Part VII of
                                                                                                             this statement. Do not complete Parts IV, V or VI.


                                                                                                                       Part IV. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                     National Standards: food, clothing, household supplies, personal care, and
                                                                                               24A   miscellaneous. Enter “Total” amount from IRS National Standards for Allowable Living Expenses for
                                                                                                     the applicable family size and income level. (This information is available at www.usdoj.gov/ust/ or from
                                                                                                     the clerk of the bankruptcy court.)                                                                       $        1,152.00
                                                                                                     National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                                                     Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
                                                                                                     for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
                                                                                                     clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are
                                                                                                     under 65 years of age, and enter in Line b2 the number of members of your household who are 65 years
                                                                                                     or older. (The total number of household members must be the same as the number stated in Line
                                                                                                     16b). Multiply line a1 by Line b1 to obtain a total amount for household members under 65, and enter
                                                                                                     the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members 65
                                                                                               24B   and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
                                                                                                     enter the result in Line 19B.

                                                                                                      Household members under 65 years of age             Household members 65 years of age or older

                                                                                                       a1.      Allowance per member             60.00     a2.     Allowance per member            144.00
                                                                                                       b1.      Number of members                   3      b2.    Number of members                     0
                                                                                                       c1.      Subtotal                        180.00     c2.     Subtotal                          0.00        $        180.00
                                                                                                     Local Standards: housing and utilities; non-mortgage expenses Enter amount of the IRS
                                                                                               25A   Housing and Utilities Standards; non-mortgage expenses for the applicable county and household size.
                                                                                                     (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)            $        438.00
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                                                                                                     Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the
                                                                                                     amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
                                                                                                     (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
                                                                                                     Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line 47;
                                                                                                     subtract Line b from Line a and enter the result in Line 25B. Do not enter an amount less than zero.
                                                                                                                                                   GWINNETT COUNTY
                                                                                                       a.        IRS Housing and Utilities Standards; mortgage/rental expense   $                1,211.00
                                                                                               25B
                                                                                                                 Average Monthly Payment for any debts secured by your
                                                                                                       b.
                                                                                                                 home, if any, as stated in Line 47                             $                     0.00
                                                                                                       c.        Net mortgage/rental expense                                    Subtract Line b from Line a.         $   1,211.00
                                                                                                     Local Standards: housing and utilities; adjustment. If you contend that the process set out in
                                                                                                     Lines 25A and 25B does not accurately compute the allowance to which you are entitled under the IRS
                                                                                                     Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
                                                                                                     state the basis for your contention in the space below:
                                                                                               26



                                                                                                                                                                                                                     $       0.00

                                                                                                     Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                                     You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
                                                                                                     operating a vehicle and regardless of whether you use public transportation. ATLANTA

                                                                                                     Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                                                     expenses are included as a contribution to your household expenses in Line 7.   0      1      2 or more.
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                                                                                               27A
                                                                                                     If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                                                     Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from
                                                                                                     IRS Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                     Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                                                     of the bankruptcy court.)                                                                                       $    234.00
                                                                                                     Local Standards: transportation; additional public transportation expense. If you pay
                                                                                                     the operating expenses for a vehicle and also use public transportation, and you contend that you are
                                                                                               27B   entitled to an additional deduction for your public transportation expenses, enter on Line 27B the "Public
                                                                                                     Transportation" amount from the IRS Local Standards: Transportation. (This amount is available at
                                                                                                     www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                  $       0.00

                                                                                                     Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
                                                                                                     of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
                                                                                                     expense for more than two vehicles.)       1        2 or more.
                                                                                                     Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                     (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                     Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
                                                                                                     Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                                               28
                                                                                                            a.     IRS Transportation Standards, Ownership Costs, First Car         $              496.00
                                                                                                                   Average Monthly Payment for any debts secured by Vehicle
                                                                                                            b.
                                                                                                                   1, as stated in Line 47                                          $              275.00
                                                                                                            c.     Net ownership/lease expense for Vehicle 1                        Subtract Line b from Line a.          221.00
                                                                                                                                                                                                                     $
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                                                                                                    Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                    only if you checked the “2 or more” Box in Line 28
                                                                                                    Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                    (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
                                                                                                    that Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b
                                                                                                    from Line a and enter the result in Line 29. Do not enter an amount less than zero.
                                                                                               29
                                                                                                        a.     IRS Transportation Standards, Ownership Costs, Second Car            $                        0.00
                                                                                                               Average Monthly Payment for any debts secured by Vehicle
                                                                                                        b.                                                                          $
                                                                                                               2, as stated in Line 47                                                                       0.00
                                                                                                        c.     Net ownership/lease expense for Vehicle 2                            Subtract Line b from Line a.
                                                                                                                                                                                                                      $       0.00

                                                                                                    Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
                                                                                               30   for all for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes,
                                                                                                    self employment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales
                                                                                                    taxes.                                                                                                            $    881.00
                                                                                                    Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly
                                                                                                    payroll deductions that are required for your employment, such as mandatory retirement contributions,
                                                                                               31
                                                                                                    union dues, and uniform costs. Do not include discretionary amounts, such as non-mandatory
                                                                                                    401(k) contributions.                                                                                             $       0.00

                                                                                                    Other Necessary Expenses: life insurance. Enter total average monthly premiums that you
                                                                                               32   actually pay for term life insurance for yourself. Do not include premiums on your dependents, for
                                                                                                    whole life or for any other form of insurance.                                                                    $
                                                                                                                                                                                                                              0.00
                                                                                                    Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
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                                                                                               33   you are required to pay pursuant to the order of a court or administrative agency, such as spousal or child
                                                                                                    support payments. Do not include payments on past due support obligations included in Line 49.                    $       0.00
                                                                                                    Other Necessary Expenses: education for employment or for a physically or mentally
                                                                                                    challenged child. Enter the total monthly amount that you actually expend for education that is a
                                                                                               34
                                                                                                    condition of employment and for education that is required for a physically or mentally challenged
                                                                                                                                                                                                                      $       0.00
                                                                                                    dependent child for whom no public education providing similar services is available.
                                                                                                    Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                               35   expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other
                                                                                                    educational payments.                                                                                             $       0.00
                                                                                                     Other Necessary Expenses: health care. Enter the total average monthly amount that you
                                                                                                     actually expend on health care that is required for the health and welfare of yourself or your dependents,
                                                                                               36
                                                                                                     that is not reimbursed by insurance or paid by a health savings account, and that is in excess of the
                                                                                                     amount entered in Line 24B. Do not include payments for health insurance or health savings
                                                                                                     accounts listed in Line 39.                                                                                $             0.00
                                                                                                    Other Necessary Expenses: telecommunication services. Enter the total average monthly
                                                                                                    amount that you actually pay for telecommunications services other than your basic home telephone and
                                                                                               37   cell phone service – such as pagers, call waiting, caller id, special long distance, or internet service—to the
                                                                                                    extent necessary for your health and welfare or that of your dependents. Do not include any amount
                                                                                                    previously deducted.                                                                                              $     40.00
                                                                                               38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                              $   4,357.00
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                                                                                                                                      Subpart B: Additional Living Expense Deductions
                                                                                                                            Note: Do not include any expenses that you have listed in Lines 24-37
                                                                                                         Health Insurance, Disability Insurance and Health Savings Account Expenses. List the
                                                                                                         monthly expenses in the categories set out in lines a-c below that are reasonably necessary for yourself,
                                                                                                         your spouse, or your dependents.
                                                                                                                a.     Health Insurance                                                                 $                        167.00
                                                                                                                b.     Disability Insurance                                                             $
                                                                                                39                                                                                                                                  0.00
                                                                                                                c.     Health Savings Account                                                           $
                                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                                                              $
                                                                                                              Total and enter on Line 39
                                                                                                                                                                                                                                                       167.00
                                                                                                              If you do not actually expend this total amount, state your actual average expenditures in the
                                                                                                              space below:
                                                                                                               $         0.00

                                                                                                         Continued contributions to the care of household or family members. Enter the total
                                                                                                40       average actual monthly expenses that you will continue to pay for the reasonable and necessary care and
                                                                                                         support of an elderly, chronically ill, or disabled member of your household or member of your immediate
                                                                                                         family who is unable to pay for such expenses. Do not include payments listed in Line 34.                $                                      0.00
                                                                                                         Protection against family violence. Enter the total average reasonably necessary monthly
                                                                                                41       expenses that you actually incur to maintain the safety of your family under the Family Violence
                                                                                                         Prevention and Services Act or other applicable federal law. The nature of these expenses is required to
                                                                                                                                                                                                                                              $          0.00
                                                                                                         be kept confidential by the court.
                                                                                                         Home energy costs. Enter the total average monthly amount, in excess of the allowance specified
                                                                                                         by IRS Local Standards for Housing and Utilities that you actually expend for home energy costs. You
                                                                                                42       must provide your case trustee with documentation of your actual expenses, and you must
                                                                                                         demonstrate that the additional amount claimed is reasonable and necessary.                                                          $          0.00
                                                                                                         Education expenses for dependent children under 18. Enter the total average monthly
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                                                                                                         expenses that you actually incur, not to exceed $147.92* per child, for attendance at a private or public
                                                                                                         elementary or secondary school by your dependent children less than 18 years of age. You must provide
                                                                                                43
                                                                                                         your case trustee with documentation of your actual expenses, and you must explain why the
                                                                                                         the amount claimed is reasonable and necessary and not already accounted for in the IRS                                                         0.00
                                                                                                                                                                                                                   $
                                                                                                         Standards.

                                                                                                        Additional food and clothing expense. Enter the total average monthly amount by which your
                                                                                                        food and clothing expenses exceed the combined allowances for food and clothing (apparel and services) in
                                                                                                44      the IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
                                                                                                        at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                                        additional amount claimed is reasonable and necessary.                                                    $                                      0.00

                                                                                                         Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                                                45       charitable contributions in the form of cash or financial instruments to a charitable organization as defined
                                                                                                         in in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
                                                                                                                                                                                                                       $                               100.00
                                                                                                         170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.

                                                                                                46       Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45. $                                                 267.00
                                                                                                                                               Subpart C: Deductions for Debt Payment

                                                                                                          Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                                          property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                                          Average Monthly Payment, and check whether the payment includes taxes and insurance. The Average
                                                                                                          Monthly Payment is the total of all amounts scheduled as contractually due to each Secured Creditor in the
                                                                                                          60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include
                                                                                                          payments of taxes and insurance required by the mortgage. If necessary, list additional entries on a
                                                                                                          separate page. Enter the total of the Average Monthly Payments on Line 47.
                                                                                                47

                                                                                                                     Name of Creditor                   Property Securing the Debt                    Average           Does payment
                                                                                                                                                                                                      Monthly           include taxes
                                                                                                                                                                                                      Payment           or insurance?
                                                                                                         a.    Santander                            04' Lincoln Aviator                          $          275.00            yes       no
                                                                                                         b.                                                                                      $             0.00           yes       no

                                                                                                         c.                                                                                      $             0.00           yes       no
                                                                                                                                                                                                Total: Add Lines
                                                                                                                                                                                                a, b and c                                    $
                                                                                                                                                                                                                                                       275.00
                                                                                                     *Amount subject to adjustment on 4/01/2013, and every three years thereafter with respect to case commenced on or after the date of adjustment.
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                                                                                                    Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
                                                                                                    residence, a motor vehicle, or other property necessary for your support or the support of your
                                                                                                    dependents, you may include in your deduction 1/60th of any amount (the “cure amount”) that you must
                                                                                                    pay the creditor in addition to the payments listed in Line 47, in order to maintain possession of the
                                                                                                    property. The cure amount would include any sums in default that must be paid in order to avoid
                                                                                                    repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
                                                                                                    additional entries on a separate page.
                                                                                               48                 Name of Creditor             Property Securing the Debt         1/60th of the Cure Amount
                                                                                                    a.                                                                           $                        0.00
                                                                                                    b.                                                                                                    0.00
                                                                                                                                                                                 $
                                                                                                    c.                                                                           $                        0.00
                                                                                                                                                                                  Total: Add Lines a, b and c    $          0.00
                                                                                                    Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority
                                                                                               49   claims, such as priority tax, child support and alimony claims, for which you were liable at the time of
                                                                                                    your bankruptcy filing. Do not include current obligations, such as those set out in Line 33.                $
                                                                                                                                                                                                                         127.96
                                                                                                    Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and
                                                                                                    enter the resulting administrative expense.
                                                                                                     a.      Projected average monthly Chapter 13 plan payment.                  $               825.00
                                                                                                             Current multiplier for your district as determined under
                                                                                                     b.      schedules issued by the Executive Office for United States
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                                                                                               50            Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                             or from the clerk of the bankruptcy court.)                         x                  5.2 %
                                                                                                     c.      Average monthly administrative expense of Chapter 13 case           Total: Multiply Lines a and b
                                                                                                                                                                                                                 $        42.90
                                                                                               51   Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.
                                                                                                                                                                                                                 $       445.86
                                                                                                                                 Subpart D: Total Deductions from Income
                                                                                               52   Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                $      5,069.86

                                                                                                          Part VI. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                                               53   Total current monthly income. Enter the amount from Line 20.                                                 $      5,428.33
                                                                                                    Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                                               54   disability payments for a dependent child, reported in Part I, that you received in accordance with
                                                                                                    applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.              $          0.00

                                                                                                    Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your
                                                                                               55   employer from wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b)
                                                                                                    all repayments of loans from retirement plans, as specified in § 362(b)(19).                                 $       400.00

                                                                                               56   Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                            $      5,069.86
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                                                                                                     Deduction for special circumstances. If there are special circumstances that justify additional
                                                                                                     expenses for which there is no reasonable alternative, describe the special circumstances and the
                                                                                                     resulting expenses in lines a-c below. If necessary, list additional entries on a separate page. Total the
                                                                                                     expenses and enter the total in Line 57. You must provide your case trustee with documentation
                                                                                                     of theses expenses and you must provide a detailed explanation of the special circumstances
                                                                                                     that make such expenses necessary and reasonable.

                                                                                                57
                                                                                                                               Nature of special circumstances                                Amount of expense
                                                                                                      a.                                                                                  $
                                                                                                      b.                                                                                  $
                                                                                                      c.                                                                                  $
                                                                                                                                                                                          Total: Add Lines a, b and c    $
                                                                                                                                                                                                                                  0.00

                                                                                               58    Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56 and
                                                                                                     57 and enter the result.                                                                                            $    5,469.86
                                                                                                     Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter
                                                                                                59                                                                                                                       $      -41.53
                                                                                                     the result.

                                                                                                                                      Part VI: ADDITIONAL EXPENSE CLAIMS
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                                                                                                     Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
                                                                                                     health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                                     income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                                     average monthly expense for each item. Total the expenses.

                                                                                                60
                                                                                                                                     Expense Description                                                  Monthly Amount
                                                                                                       a.                                                                                           $             0.00
                                                                                                       b.                                                                                           $             0.00
                                                                                                       c.                                                                                           $             0.00
                                                                                                                                                      Total: Add Lines a, b and c                                 0.00

                                                                                                                                                 Part VII: VERIFICATION
                                                                                                     I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                     both debtors must sign.)

                                                                                                61          Date:   04/19/10                          Signature:        /s/ Shamara Nyree Stokeling
                                                                                                                                                                            (Debtor)


                                                                                                            Date:                                     Signature:
                                                                                                                                                                          (Joint Debtor, if any)
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                                                                                                                                   Form 22 Continuation Sheet
                                                                                               Income Month 1                                        Income Month 2

                                                                                               Gross wages, salary, tips...        5,754.00   0.00   Gross wages, salary, tips...        5,754.00      0.00
                                                                                               Income from business...                 0.00   0.00   Income from business...                 0.00      0.00
                                                                                               Rents and real property income...       0.00   0.00   Rents and real property income...       0.00      0.00
                                                                                               Interest, dividends...                  0.00   0.00   Interest, dividends...                  0.00      0.00
                                                                                               Pension, retirement...                  0.00   0.00   Pension, retirement...                  0.00      0.00
                                                                                               Contributions to HH Exp...              0.00   0.00   Contributions to HH Exp...              0.00      0.00
                                                                                               Unemployment...                         0.00   0.00   Unemployment...                         0.00      0.00
                                                                                               Other Income...                         0.00   0.00   Other Income...                         0.00      0.00



                                                                                               Income Month 3                                        Income Month 4


                                                                                               Gross wages, salary, tips...        5,178.00   0.00   Gross wages, salary, tips...        5,370.00      0.00
                                                                                               Income from business...                 0.00   0.00   Income from business...                 0.00      0.00
                                                                                               Rents and real property income...       0.00   0.00   Rents and real property income...       0.00      0.00
                                                                                               Interest, dividends...                  0.00   0.00   Interest, dividends...                  0.00      0.00
                                                                                               Pension, retirement...                  0.00   0.00   Pension, retirement...                  0.00      0.00
                                                                                               Contributions to HH Exp...              0.00   0.00   Contributions to HH Exp...              0.00      0.00
                                                                                               Unemployment...                         0.00   0.00   Unemployment...                         0.00      0.00
                                                                                               Other Income...                         0.00   0.00   Other Income...                         0.00      0.00
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                                                                                               Income Month 5                                        Income Month 6

                                                                                               Gross wages, salary, tips...        5,258.00   0.00   Gross wages, salary, tips...        5,256.00      0.00
                                                                                               Income from business...                 0.00   0.00   Income from business...                 0.00      0.00
                                                                                               Rents and real property income...       0.00   0.00   Rents and real property income...       0.00      0.00
                                                                                               Interest, dividends...                  0.00   0.00   Interest, dividends...                  0.00      0.00
                                                                                               Pension, retirement...                  0.00   0.00   Pension, retirement...                  0.00      0.00
                                                                                               Contributions to HH Exp...              0.00   0.00   Contributions to HH Exp...              0.00      0.00
                                                                                               Unemployment...                         0.00   0.00   Unemployment...                         0.00      0.00
                                                                                               Other Income...                         0.00   0.00   Other Income...                         0.00      0.00



                                                                                                                            Additional Items as Designated, if any




                                                                                                                                              Remarks
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                                            UNITED STATES BANKRUPTCY COURT
                                                    Northern District of Georgia, Atlanta Division
In re:
         Shamara Nyree Stokeling                                          Case No.
                                                                          Chapter 13



                                                     Debtor(s)


                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
comensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

         For legal services, I have agreed to accept.................................                   $4,000.00

         Prior to the filing of this statement I have received..................... $0.00

         Balance Due.................................................................................$4,000.00

2. $        of the filing fee has been paid.

3. The source of the compensation paid to me was :
           Debtor(s)                 Other

4. The source of compensation to be paid to me is:
          Debtor(s)                  Other

5.     I have agreed not to share the above-disclosed compensation with a person or persons who are not members or associates of
my law firm.
        I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my
law firm. A copy of the agreement, along with a list of the name of the people sharing in the compensation is attached.

6. In return for the above-disclosed fee, I have agreed to render legal services for aspects of the bankruptcy case, including:
          a. Analysis of the debtor(s)' financial situation and rendering advice to the debtor(s) in determining whether to
file a petition in bankruptcy.
          b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
          c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
thereof;
          d. Other services included:
                    Stop creditor actions against client
                    Pre-confirmation Motion to Extend or Impose Stay
                    Response to Pre-confirmation Motion for Relief from Stay
                    Employer Deduction Order
                    Lien avoidances necessary to confirm plan
                    Modification necessary to confirm plan
                    Objections to claims necessary to confirm Plan
                    Objection to Late-filed Claims
                    Bar Date review of claims, filing of certification and resulting pleadings
                    Change of address
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            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                                                 (Continuation Sheet)

7. By agreement with the Debtor(s), the above-disclosed fee does not include the following services:
                Motion to Retain Tax Refund.........................................................$         500.00
                Post- confirmation Plan Modifications...........................................$             300.00
                Post-confirmation Lien Avoidance.................................................$            300.00
                Response to post-confirmation Motion for Relief from Stay..........$                         400.00
                Motion to Suspend Plan Payments................................................. $            300.00
                Motion to Approve Compromise.................................................... $             300.00
                Motion to Sell Property...................................................................$    500.00
                Application to Employ Professional................................................$           300.00
                Motion to Refinance/Application for Outside Loan.........................$                    300.00
                Response to Motion to Dismiss........................................................$         250.00
                Response to Creditor or Trustee Motion to Modify Plan.................$                       150.00
                Motion to Sever or Dismiss as to one joint Debtor...........................$                  300.00
                Motion to Reopen or Vacate Dismissal.............................................$              500.00
                Motion to Re-impose Stay.................................................................$      500.00
                Adversary Proceedings......................................................................$    300.00/hr

8. If this is a Chapter 13 proceeding, I certify that I have provided to the Debtor(s) a copy of the statement entitled "Rights and
Responsibilities".


                                                                CERTIFICATION

   I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the Debtor(s) in this bankruptcy proceeding.


            04/19/10                                                      /s/    Matthew T. Berry
         Date                                                           Signature of Attorney

                                                                                     Berry & Associates
                                                                        Name of Law Firm
